
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent notarized a document outside the presence of the sig*1262natory. Prior to the institution of formal charges, respondent and the ODC submitted a joint petition for consent discipline, in which the parties stipulated that respondent engaged in the alleged misconduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Royal L. Colbert, Louisiana Bar Roll number 27412, be and he hereby is publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
